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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION


UNITED STATES OF AMERICA,

        Plaintiff,                         CASE NO: 09-20023-07

v.                                         DISTRICT JUDGE THOMAS L. LUDINGTON
                                           MAGISTRATE JUDGE CHARLES E. BINDER
TRISTAN LAVET HARRISON

        Defendant.
                                   /


                   MAGISTRATE JUDGE’S REPORT, FINDINGS AND
                 RECOMMENDATION CONCERNING PLEA OF GUILTY


I.      REPORT AND FINDINGS

        On February 2, 2010, this case was referred to the undersigned Magistrate Judge pursuant

to 28 U.S.C. §§ 636(b)(1)(B) and 636(b)(3) for purposes of receiving, on consent of the parties,

Defendant’s offer of a plea of guilty. Defendant, along with counsel, appeared before me on

February 4, 2010. In open court, I examined Defendant under oath, confirmed Defendant’s

consent, and then advised and questioned Defendant regarding each of the inquiries prescribed by

Rule 11(b) of the Federal Rules of Criminal Procedure.

        Based upon Defendant’s answers and demeanor, I HEREBY FIND: (1) that Defendant

is competent to tender a plea; (2) that Defendant’s plea was knowingly, intelligently made; and (3)

that the offense(s) to which Defendant pleaded guilty is(are) supported by an independent basis

in fact containing each of the essential elements of the offense(s). Therefore, I have ordered the

preparation of a presentence investigation report.
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II.      RECOMMENDATION

         For the reasons set forth above, IT IS RECOMMENDED that, subject to the Court’s

consideration of the plea agreement pursuant to Rule 11(c) of the Federal Rules of Criminal

Procedure, Defendant be adjudged guilty and sentence be imposed.



III.     REVIEW

         The parties to this action may object to and seek review of this Report and Recommendation

within ten (10) days of service of a copy hereof as provided for in 28 U.S.C. § 636(b)(1). Failure

to file specific objections constitutes a waiver of any further right of appeal. Thomas v. Arn, 474

U.S. 140, 106 S. Ct. 466, 88 L. Ed.2d 435 (1985); Frontier Ins. Co. v. Blaty, 454 F.3d 590, 596

(6th Cir. 2006); United States v. Sullivan, 431 F.3d 976, 984 (6th Cir. 2005). The parties are

advised that making some objections, but failing to raise others, will not preserve all the objections

a party may have to this Report and Recommendation. McClanahan v. Comm’r of Social Security,

474 F.3d 830, 837 (6th Cir. 2006); Frontier Ins. Co., 454 F.3d at 596-97. Pursuant to E.D. Mich.

LR 72.1(d)(2), a copy of any objections is to be served upon this Magistrate Judge.




                                                              s/C   harles`  EB    inder
                                                             CHARLES E. BINDER
Dated: February 5, 2010                                      United States Magistrate Judge


                                                 CERTIFICATION

       I hereby certify that this Report and Recommendation was electronically filed this date, electronically served
on Janet Parker and Steve Jacobs, served on Pretrial Services and the Bay City Probation Office by other electronic
means, and served on District Judge Ludington in the traditional manner.

Date: February 5, 2010                            By    s/Jean L. Broucek
                                                  Case Manager to Magistrate Judge Binder



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